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 AO 450 (Rev. 5/85) (Mod. 10/93) Judgment in a Civil Case "




                                     United States District Court
                                            WESTERN DISTRICT OF WASHINGTON

                                                              JUDGMENT IN A CIVIL CASE


ANTHONY P. KEYTER,

                  v.
                                                          CASE NUMBER:       C08-5235RBL
UNITED STATES OF AMERICA,

[%]     Decision by Court. This action came under consideration before the Court. The issues have
        been considered and a decision has been rendered.




        IT IS ORDERED AND ADJUDGED


        This matter is DISMISSED. Plaintiff is prohibited from filing in this Court any action which arises
        from his previous divorce and plaintiff’s resulting actions to remedy the alleged injustices. If
        plaintiff attempts to file in this Court any other action arising from the divorce action or if a matter
        is transferred to this Court from another District raising this subject matter, it will be summarily
        dismissed.




DATED :           5/14/2008
                                                                         BRUCE RIFKIN
                                                                 Clerk


                                                                       /s/ Jean Boring
                                                                 (By) Deputy Clerk, Jean Boring
